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IN THE UNITED STATES DISTRICT C( URT
FOR THE NORTHERN DISTRICT OF Tl§XAS

 

 

 

 

 

 

FORT WORTH DIVISION § §§ .;U»S»thmarcomar
UNITED STATES OF AMERICA ' :~ i_-"
v. No.4:18-MJ-555
KIRBY ERWIN GOWLAND (01)

CRIMINAL COMPLAINT

 

l, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

On or about March 30, 2018, the defendant, Kirby Erwin Gowland, in the
Northern District of Texas, knowingly received, using any means and facility of interstate
and foreign commerce by any means, including by computer, any visual depiction, the
production of which involved the use of a minor engaging in sexually explicit conduct,
and such visual depiction was of such conduct. Specifically, Gowland received the
following visual depiction:

Video file name “Asi se mama linda.mp4,” which depicts a prepubescent female
performing oral sex on the penis of an adult male. The male then removes the female’s
underwear and digitally penetrates her and anally penetrates her with his penis for

approximately six minutes The videos is approximately ll minutes and 58 seconds in
length.

In violation of 18 U.S.C. § 2252(a)(2).
INTRODUCTION
l. Affiant, Christopher W. Thompson, a Special Agent (SA) with the Federal Bureau
of lnvestigation (FBI), Dallas Division, being duly sworn, depose and state as follows:
2. I have been employed as a Special Agent of the FBI since April 2004, and I am

currently assigned to the Dallas Division, which is located at One Justice Way, Dallas,

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Texas 75220. As a federal agent, I am authorized to investigate violations of laws of the
United States and to execute warrants issued under the authority of the United States. l
am currently assigned to a Child Exploitation Task Force, wherein my duties and
responsibilities include investigating criminal violations relating to the sexual
exploitation of children (SEOC). I have gained expertise in these types of investigations
through training in seminars, classes, and my everyday work. ln addition, I have received
specialized training in the investigation and enforcement of federal child pornography
laws in which computers are used as the means for transmitting, collecting and storing
child pornography
3. The information contained in this affidavit is based on my personal knowledge and
experience, my own investigation, and information provided by other law enforcement
officers and/or Agents. Since this affidavit is being submitted for the limited purpose of
securing an arrest warrant, I have not included each and every fact known to me
concerning this investigation l have set forth only the facts that l believe are necessary
to establish probable cause to believe that a violation of Receipt of a visual depiction of a
minor engaged in sexually explicit conduct, in violation of 18 U.S.C. § 2252(a)(2), has
been committed by Kirby Erwin Gowland.

OVERVIEW OF INVESTIGATION
4. On September 7, 2018, l executed a search warrant at 813 W. Cheryl Avenue,
Hurst, Texas, in connection with an investigation regarding lnternet access to child

pornography. At the time of the search, Gowland was present.

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5. FBI Special Agents conducted a consensual interview of Gowland while at his

residence Gowland indicated that he had a black Windows laptop computer which

belonged to him in the home. He further stated that the laptop was at least a year old and

that he usually kept it at his residence in Hurst, Texas. His girlfriend had a l\/lacintosh

computer.

6. l observed child pornography while conducting a preliminary search of the hard

drive inside Gowland’s black laptop computer. A preliminary review of the hard drive

indicates approximately 19,808 files, many of which were observed to be images and

videos of child pornography By way of example, three child pornography files include

the following:

 

FILE NAME

FILE DESCRIPTION

 

28jpg

This image depicts a prepubescent female
spreading her anus to expose her genitals to the
camera.

 

66Jpg

This image depicts a prepubescent female
lying on her back with her legs in the air
exposing her genitals. Another person is
inserting an object into her anus.

 

SOO Andy Bondage.mpg

 

 

This video depicts a male under the age of 18
tied to a tree. Another male wearing a mask
then removes the boy’s shorts and performs
oral sex on the restrained boy

 

7. Gowland also admitted to using the peer-to-peer program uTorrent for “several

years.” The files described above were found in a data drive in the laptop computer in a

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folder called “Torrents.” While reviewing the hard drive, SA Thompson observed folder
structures, file names, and files indicating they were obtained through a bit torrent
application.
8. Additionally, SA Thompson observed the video file Asi se mama linda.mp4 on
the same hard drive. The file was located in the “torrents” folder and was created on or
about March 3(), 2018. The video file appeared to depict a real minor engaged in
sexually explicit conduct. Your Affiant knows that in order to receive this video file
through a bit torrent application, the user must be connected to the lnternet. Your Affiant
is also aware that the lnternet is a means and facility of interstate and foreign commerce.

CONCLUSION
9. Based on the foregoing facts and circumstances, l respectfully submit that there is
probable cause to believe that on or about March 30, 20l8, in the Northern District of
Texas, Kirby Erwin Gowland committed the offense of Receipt of Child Pornography,
in violation of 18 U.S.C. §2252(a)(2).

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Christo/pher W. Thompson

Special Agent

Federal Bureau of Investigation

Subscribed and sworn before me this 7 l:_H; day of September 2018 in Fort Worth,

Texasat 10 31 a.m.
?Q'MK MM,Q/»

HAL R. RAY, JR.
United States Magistrate Judge

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